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12

13                      IN THE UNITED STATES DISTRICT COURT
14                          FOR THE DISTRICT OF ARIZONA

15
   Jane Doe, on behalf of her minor child and
                                                 Case No. 2:22-cv-00202-PHX-JFM
16 Aviation West Charters, LLC d/b/a Angel
   MedFlight,
17                                               UNOPPOSED MOTION TO
                        Plaintiffs,              PROCEED PSEUDONYMOUSLY
18

19 v.

20
   Haier US Appliance Solutions, Inc. d/b/a GE
21 Appliances, a Haier Company; and GE
   Appliances Health and Welfare Benefit Plan
22 for Employees,

23
                        Defendants.
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 1         Plaintiff Jane Doe, on behalf of her minor child hereby moves for leave from this
 2 Court to proceed pseudonymously.

 3                                      INTRODUCTION
 4         Jane Doe’s daughter, a minor child (“M.C.”) was diagnosed with a severe eating
 5 disorder at age 14. This case concerns whether M.C.’s air-ambulance transportation to

 6 the ACUTE Center for Eating Disorders in Denver, Colorado (“ACUTE”) is a covered

 7 benefit for M.C. under the terms of her health plan.

 8         Because M.C. has a “legitimate concern for [her] privacy” and “an understandable
 9 fear of social stigmatization” (Roes 1-2 v. SFBSC Mgmt. LLC, 77 F.Supp.3d 990, 993
10 (N.D. Cal.2015)) should her private medical information be made public—and because

11 Defendants do not oppose this motion—we respectfully request that this Court grant

12 Plaintiff Jane Doe leave to proceed pseudonymously and direct all parties to refer to Jane

13 Doe and M.C. by these fictitious names in all filings.

14                                       BACKGROUND
15         Jane Doe is M.C.’s mother. She also serves as M.C.’s power of attorney with
16 respect to her air-ambulance benefits claim.

17         This case hinges on whether M.C. required a transfer to ACUTE, and, if so, whether
18 she required air-ambulance transportation to effect the transfer. Litigating these issues will

19 require a close examination of M.C.’s medical records, which include a diagnosis of

20 severe anorexia; her attempts (as a result of her eating disorder) to mislead her doctors;

21 her doctors’ belief that she required “constant monitoring” and was a flight risk; threats

22 of suicide; indications that M.C. (again, as result of the disorder) had poor judgment and

23 poor insight into the nature of her condition; and the like.

24         Defendants are aware of Jane Doe’s and M.C.’s identities.
25         Counsel for Plaintiffs conferred with counsel for Defendants, who advised that they
26 do not oppose this motion.

27                                    LEGAL STANDARD
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 1         In the Ninth Circuit, parties may proceed pseudonymously when anonymity is
 2 necessary to preserve privacy in a matter of a sensitive and highly personal nature. Does

 3 I through XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). In

 4 considering a motion to proceed pseudonymously, courts must determine whether “the

 5 party’s need for anonymity outweighs prejudice to the opposing party and the public’s

 6 interest in knowing the party’s identity.” Id.

 7         In making this determination, courts may consider whether the case will involve
 8 the disclosure of sensitive and personal medical information—including, particularly,

 9 mental health evaluations and medical reports which may subject the patient to social
10 stigmatization (Roe v. City of Milwaukee, 37 F. Supp. 2d 1127, 1129 (E.D. Wis. 1999))—

11 and whether it is “critical to the working of justice to reveal” the identity of the

12 pseudonymous plaintiff. Roes 1-2 , 77 F. Supp. 3d at 996.

13                                        ARGUMENT
14         All of the relevant factors weigh in favor of allowing Jane Doe to proceed
15 pseudonymously.

16         Because Defendants are aware of Jane Doe’s and M.C.’s identities, Defendants
17 may raise any related argument or (to the limited extent it might be permitted in this

18 ERISA action) conduct discovery. Thus, Defendants would not be prejudiced in any

19 apparent way if this Court allows Jane Doe and M.C. to remain anonymous. Consistent

20 with the foregoing, Defendants do not oppose this motion.

21         Similarly, the public’s interest in knowing the patient’s identity is limited, because
22 her identity is not critical to the resolution of the case. Instead, if the Court grants this

23 motion, the Court would remain free to apply the controlling law to M.C.’s medical

24 circumstances. This would ensure that the salient facts of the case and the Court’s analysis

25 are accessible to the public, which “is the crucial thing.” Roes 1-2 , 77 F. Supp. 3d at 996.

26         In contrast to the absence of apparent prejudice to the public and Defendants,
27 M.C.’s need for anonymity is obvious and compelling. It is beyond dispute that M.C.’s

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 1 medical records are of a “sensitive and highly personal” nature. As described above, the

 2 medical records document M.C.’s years-long struggle with severe anorexia nervosa (a

 3 disorder with a significant social stigma attached to it) as well as potentially damaging

 4 records of attempts (due to the nature of her disorder) to deceive her medical providers,

 5 threats of self-harm, and the like. Moreover, the foregoing is exacerbated by the fact that

 6 M.C. was a minor at the relevant times.

 7         The law does not require Jane Doe to choose between making her daughter’s
 8 private, sensitive medical information public (thus risking both relapse and social

 9 stigmatization) or litigating whether the medical services she received are covered under
10 her health plan. See, e.g., Roes 1-2, 77 F.Supp.3d at 993 (allowing plaintiffs to remain

11 anonymous due to fear of social stigmatization); Roe v. United States, 2020 U.S. Dist.

12 LEXIS 29323 at *9 (E.D. Cal. Feb. 19, 2020) (same); Alexandra H. v. Oxford Health Ins.,

13 Inc. 2012 U.S. Dist. LEXIS 202389, at *3-5 (S.D. Fla. Mar. 23, 2012) (noting anorexic

14 patient’s recovery could be jeopardized if private medical information were publicized).

15 She should be permitted to proceed pseudonymously.

16                                       CONCLUSION
17         Plaintiff Jane Doe, on behalf of her minor child respectfully requests that this Court
18 permit her to proceed pseudonymously, and direct all parties to refer to Jane Doe and M.C.

19 by these fictitious names in all filings.

20         Respectfully submitted this 22nd day of February, 2022.
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                               CERTIFICATE OF SERVICE

         I, Eamon P. Kelly, hereby certify that on February 22, 2022, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send notification of such
filing to all attorneys of record.

Dated: February 22, 2022
                                    /s/ Eamon P. Kelly

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